

ORDER

PETITION FOR REINSTATEMENT FROM INACTIVE STATUS
PER CURIAM.
AND NOW, this 19th day of November, 2001, The Report and Recommendations of *198The Disciplinary Board of the Supreme Court of Pennsylvania dated October 19, 2001, are approved and IT IS ORDERED that JOYCE JIYOUNG AHN, who has been on inactive status, has never been suspended or disbarred, and has demonstrated that she has the moral qualifications, competency and learning in law required for admission to practice in the Commonwealth, shall be and is, hereby reinstated to active status as a member of the Bar of this Commonwealth. The expenses incurred by the Board in the investigation and processing of the Petition for Reinstatement shall be paid by the Petitioner.
